       Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 1 of 14




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                    UNITED STATES DISTRICT COURT

                           DISTRICT OF HAWAII

In the Matter of                         IN ADMIRALTY
The Complaint of SEABREEZE               CIVIL NO.:
JETLEV LLC, SEABREEZE JET
SKI, LLC, and H2O SPORTS
HAWAII, LLC, as owners of the            COMPLAINT FOR EXONERATION
Motor Vessels, the first being a Motor   FROM OR LIMITATION OF
Vessel named M/V JOURDANS                LIABILITY; DECLARATION OF
OBSESSION, U.S. Coast Guard              MARK KNUTSON ATTESTING TO
O.N. 1137107, and the second Motor       FAIR MARKET VALUE, WITH
Vessel being approximately 11-foot       EXHIBITS A & B
Yamaha, model VX1050C-U, with a
model year 2019, Vessel Hull             [46 U.S.C. § 30501 et seq.; and Federal
Identification Number US-
YAMA3411D919, State of Hawaii            Rule of Civil Procedure Supplemental
Certificate of Number HA-1163-CC,        Rule F]
for Exoneration from or Limitation of
Liability.


              COMPLAINT FOR EXONERATION FROM OR
                   LIMITATION OF LIABILITY


      [46 U.S.C. & 30501 ET SEQ. AND FEDERAL RULE OF CIVIL
                PROCEDURE SUPPLEMENTAL RULE F]




                                                                     1029428\305476267.v6
           Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 2 of 14




         COME NOW Plaintiffs in Limitation SeaBreeze Jetlev, LLC (“SeaBreeze

Jetlev”),1 SeaBreeze Jet Ski, LLC (“SeaBreeze Jet Ski”), and H2O Sports Hawaii,

LLC (“H2O”) (collectively, “Plaintiffs in Limitation”), as owners of the two Motor

Vessels, the first being an approximately 43-foot long passenger Motor Vessel

named “M/V JOURDANS OBSESSION,” U.S. Coast Guard Official No. 1137107,

and her engines, tackle, apparel, etc. (hereinafter the “M/V JOURDANS

OBSESSION”), which was and now is duly documented under the laws of the

United States of America, and the second Motor Vessel being an approximately 11-

foot long Yamaha personal watercraft vessel, model VX1050C-U, with a model year

2019, Vessel Hull Identification Number US-YAMA3411D919, State of Hawaii

Certificate of Number HA-1163-CC, and her engines, tackle, equipment,

appurtenances, etc. (hereinafter “YAMAHA”), in this admiralty action for

exoneration from or limitation of liability, alleging, upon information and belief, as

follows:

                                        JURISDICTION

         1.      This is an action for exoneration from, or limitation of, liability

pursuant to 46 U.S.C. § 30501 et seq., the Shipowners’ Limitation of Liability Act

(the “LOLA”), and therefore, jurisdiction exists under 28 U.S.C. § 1331. This action




1
    Sometimes this entity has been referred to as SeaBreeze Jetlev LLC (i.e., no comma).

                                                 2
                                                                                  1029428\305476267.v6
         Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 3 of 14




is an admiralty and maritime claim within the meaning of Federal Rules of Civil

Procedure 9(h) and 38(e), and Rule F of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions (“Supplemental Rule F”), and is

within the admiralty and maritime jurisdiction of the Court pursuant to 28 U.S.C.

§ 1333.2

                                           PARTIES

       2.      Plaintiffs in Limitation were, at all times relevant to this action, limited

liability companies, with their principal places of business in the State of Hawaii,

and were, at all times hereinafter mentioned, owners of the M/V JOURDANS

OBSESSION and the YAMAHA, within the meaning of, inter alia, 46 U.S.C.

§ 30501 et seq. and Supplemental Rule F.

       3.      The M/V JOURDANS OBSESSION is a Motor Vessel, which was and

now is duly documented under the laws of the United States of America, U.S. Coast

Guard Official No. 1137107, of the approximate dimension of 43 feet, 7 inches in

length, with the documented owner being SeaBreeze Jet Ski.

       4.      The YAMAHA is a personal watercraft vessel registered with the

Department of Land and Natural Resources, Division of Boating and Ocean




2
  Plaintiffs in Limitation reserve their right to claim other appropriate bases for jurisdiction if a
claim is asserted against them. For example, if any potential claims are filed against Plaintiffs in
Limitation, Plaintiffs in Limitation believe those claimants would not be citizens of Hawaii, and
therefore, that diversity jurisdiction would exist under 28 U.S.C. § 1332.

                                                 3
                                                                                    1029428\305476267.v6
        Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 4 of 14




Recreation, State of Hawaii Certificate of Number HA-1163-CC, Vessel Hull

Identification Number US-YAMA3411D919, of the approximate dimension of

11 feet in length, with the documented owner being SeaBreeze Jet Ski.

                                        VENUE

      5.     Venue is proper in this district under Supplemental Rule F(9) because,

upon information and belief, no suit has been commenced against Plaintiffs in

Limitation, and the M/V JOURDANS OBSESSION and the YAMAHA are, and at

all times relevant to this action were, located within the County of Honolulu, all of

which is located in the territorial jurisdiction of this Court.

               GENERAL ALLEGATIONS UNDER THE LOLA

      6.     Prior to and at all times hereinafter described, Plaintiffs in Limitation

exercised due diligence to make and to maintain the M/V JOURDANS OBSESSION

and YAMAHA in all respects seaworthy, and at all times hereinafter described the

M/V JOURDANS OBSESSION and YAMAHA were, in fact, fully and properly

manned, equipped, and supplied and in all respects seaworthy and fit and proper for

the service in which the M/V JOURDANS OBSESSION and YAMAHA were

engaged at the time of the incident referenced below.

      7.     Plaintiffs in Limitation, on information and belief, allege that Jamal

Jordan (“Jamal”) was, at all times relevant to this action, an individual residing

within the State of California. Plaintiffs in Limitation are further informed and


                                            4
                                                                       1029428\305476267.v6
          Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 5 of 14




believe that Jamal reportedly died during an incident shortly after he was engaged

in recreational watersports and after departing from the M/V JOURDANS

OBSESSION and the YAMAHA on or about October 22, 2019 (“the incident”),

further facts of which are set forth below.

      8.      Plaintiffs in Limitation, on information and belief, allege that Rochelle

Rodriguez Jordan (“Rochelle”) is, and at all times relevant to this action was, an

individual residing in the State of California. Plaintiffs in Limitation are further

informed and believe that Rochelle was the wife of Jamal and present during the

incident, further facts of which are set forth below.

      9.      There were no known mortgages, liens, claims or other demands on the

M/V JOURDANS OBSESSION prior to or paramount to those which may have

occurred by reason of the incident. At the time of the incident, there was no pending

freight or hire. The M/V JOURDANS OBSESSSION is operated and maintained

by employees of H2O pursuant to agreements with SeaBreeze Jet Ski and SeaBreeze

Jetlev.

      10.     There were no known mortgages, liens, claims or other demands on the

YAMAHA prior to or paramount to those which may have occurred by reason of the

incident. At the time of the incident, there was no pending freight or hire. The

YAMAHA, and other related equipment, was leased to SeaBreeze Jetlev by

SeaBreeze Jet Ski.     Under the terms of the lease, SeaBreeze Jetlev assumed


                                           5
                                                                        1029428\305476267.v6
          Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 6 of 14




responsibility for the maintenance of the YAMAHA. The YAMAHA is operated by

employees of H2O for SeaBreeze Jetlev, per the agreement of H2O and SeaBreeze

Jetlev.

      11.     Except as to Rochelle, Plaintiffs in Limitation are unaware of the

identity of any other individuals and/or entities who are entitled to claim an interest

in the M/V JOURDANS OBSESSION and/or the YAMAHA with respect to the

incident and reserve their rights to amend their complaint or any other appropriate

filing if further individuals and/or entities are discovered.

      12.     On or about October 22, 2019, the M/V JOURDANS OBSESSION was

operating and moored in Maunalua Bay, Hawaii (“Maunalua Bay”). Any and all

movements of the M/V JOURDANS OBSESSION on the day of the incident, to the

extent said movements constituted a voyage, commenced in the navigable waters of

Maunalua Bay and were intended to begin and end, and did begin and end, in the

navigable waters of Maunalua Bay in the County of Honolulu, Hawaii.

      13.     On or about October 22, 2019, an employee of Plaintiff in Limitation

H2O, Kai Kinoshita (“Kinoshita”), was operating the YAMAHA in Maunalua Bay.

The YAMAHA’s movements, to the extent they constituted a voyage, on the day of

the incident commenced in the navigable waters of Maunalua Bay and were intended

to begin and end, and did begin and end, in the navigable waters of Maunalua Bay

in the County of Honolulu, Hawaii.


                                           6
                                                                        1029428\305476267.v6
        Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 7 of 14




                  FACTS GIVING RISE TO THE INCIDENT

      14.    On October 22, 2019, the day of “the incident,” Jamal and Rochelle

(collectively, the “Jordans”) were engaged in watersport activities on Oahu Island,

Hawaii, in the area of Maunalua Bay, all of which is located in the territorial

jurisdiction of this Court. Specifically, the Jordans were engaged in an activity

called “bumper tubing” which involves towing an inflatable tube behind a vessel, in

this case the YAMAHA, as the participants lay flat on the tube and hold onto handles

that line the front outside edge of the tube.

      15.    On the day of the incident, the Jordans utilized the partially submerged

hydraulic platform located on the stern section of the M/V JOURDANS

OBSESSION to climb onto a tube, which was connected to the YAMAHA, to

engage in bumper tubing in Maunalua Bay. The M/V JOURDANS OBSESSION

utilizes the submerged platform as a staging area, so customers can board personal

watercraft vessels and tubes before setting off to enjoy these activities in the adjacent

designated/permitted zones, which are located within the Maunalua Bay Ocean

Recreation Management Area (“ORMA”), where certain of Plaintiffs in Limitation’s

watersport activities were conducted.

      16.    Upon information and belief, once the Jordans boarded the tube,

Kinoshita, who was operating the YAMAHA, towed the Jordans into the designated/

permitted zone, which was located within the ORMA, to engage in bumper tubing.


                                           7
                                                                          1029428\305476267.v6
        Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 8 of 14




While the YAMAHA was underway and the Jordans were engaging in bumper

tubing, Jamal let go of the tube and slid into the water. After efforts to get Jamal

back onto the tube were unsuccessful, Kinoshita headed with the Jordans toward the

nearby M/V JOURDANS OBSESSION.

      17.    As the group continued their return to the M/V JOURDANS

OBSESSION, Jamal again let go of the tube. Kinoshita turned around to get Jamal,

who was standing in chest-deep water. When Jamal did not get back on the tube,

Plaintiffs in Limitation H2O’s employee Sean Neal (“Neal”) and Kinoshita got into

the water to assist Jamal.

      18.    Two of Plaintiffs in Limitation H2O’s employees, Nick Yuzawa

(“Yuzawa”) and Dai Tanaka, also immediately went to assist, with Yuzawa calling

911 for emergency medical assistance.

      19.    Two off-duty Honolulu Fire Department employees, Brandon Felix

(“Felix”) and Jay Nourrie (“Nourrie”), noticed the group in the water, and brought

Jamal to the nearby boat ramp.

      20.    Thereafter, the Honolulu Fire Department arrived on scene and took

over medical care of Jamal. Jamal was pronounced dead sometime later that day.

      21.    On information and belief, as of the date of the filing of this Complaint

for Exoneration from or Limitation of Liability, no lawsuit has been filed by Jamal’s

estate, by Rochelle or any other person or entity related to the incident.


                                           8
                                                                        1029428\305476267.v6
        Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 9 of 14




      22.    Plaintiffs in Limitation believe that if Jamal’s estate and/or Rochelle do

file a lawsuit, they will seek damages, to the extent that either vessel contributed to

the incident (which is denied), in excess of the value of the M/V JOURDANS

OBSESSION and YAMAHA.

      23.    The aforesaid incident and all or any consequent alleged damages

occurred without privity or knowledge on the part of the Plaintiffs in Limitation, or

its agents, or any of them, or anyone whose privity or knowledge is or may be

imputable to Plaintiffs in Limitation.

      24.    The aforesaid incident was not caused or contributed to by any fault or

knowledge on the part of the Plaintiffs in Limitation.

      25.    While not in any manner admitting liability for any injuries, damages

or death which any claimant or representative might allege he, she or it has suffered,

and hereby expressing their desire to contest liability, Plaintiffs in Limitation desire

first to be completely exonerated from any and all such claims, and, if not

exonerated, in the alternative, to limit their liability, if any, for any and all said

claims, to all claimants, to a maximum of liability equivalent to Plaintiffs in

Limitation’s interest in the M/V JOURDANS OBSESSION and the YAMAHA,

immediately following the subject incident. If either vessel did not contribute to the

incident, Plaintiffs in Limitation seek an appropriate reduction in the limitation fund

for the value of the exonerated vessel.


                                           9
                                                                         1029428\305476267.v6
       Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 10 of 14




      26.    Plaintiffs in Limitation desire to invoke the benefits of exoneration

from or limitation of liability as provided by 46 U.S.C. § 30501 et seq., and in the

same proceeding Plaintiffs in Limitation desire to contest their liability and the

liability of the M/V JOURDANS OBSESSION and the YAMAHA for any alleged

loss or damages arising out of the aforesaid incident.

      27.    As set forth in the Declaration of Mark Knutson Attesting to the Fair

Market Value, the value of Plaintiffs in Limitation’s interest in the M/V

JOURDANS OBSESSION, after the alleged incident, was no more than $100,000;

the value of Plaintiffs in Limitation’s interest in the YAMAHA, at the end of the

voyage on October 22, 2019, after the alleged incident, was no more than $9,500;

and the value of the bumper tube attached to the YAMAHA, at the end of the voyage

on October 22, 2019 and after the alleged incident, was no more than $1,000. The

value of Plaintiffs in Limitation’s combined interest in the M/V JOURDANS

OBSESSION and the YAMAHA after the alleged incident is no more than

$110,500.

      28.    Not more than six months have elapsed between Plaintiffs in

Limitation’s receipt of a written notice of a potential claim or suit arising out of the

aforementioned personal injury and/or death and the filing of this action for

exoneration from or limitation of liability.




                                          10
                                                                         1029428\305476267.v6
        Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 11 of 14




      29.    Plaintiffs in Limitation, as owners of the M/V JOURDANS

OBSESSION and the YAMAHA, seek exoneration from or limitation of liability for

any and all losses, damages, injuries, or other claims in any way relating to the

incident on or about October 22, 2019, and Plaintiffs in Limitation further claim the

benefit of limitation of liability as provided for in 46 U.S.C. § 30501 et seq., and

specifically and particularly under the provisions of 46 U.S.C. § 30505.

       30.    Plaintiffs in Limitation are ready, willing and able to give and hereby

offer to give, a stipulation with sufficient surety, in the form of a letter of undertaking

from their insurer or other security approved by the Court, for payment into the Court

of the amount or value of Plaintiffs in Limitation’s interest in the M/V JOURDANS

OBSESSION and the YAMAHA, together with interest thereon at the legal rate of

six percent (6%) per annum, plus security for costs in the amount of $500, as required

by Local Admiralty Rule E(8), whenever the same shall be ordered herein.

       31.    Plaintiffs in Limitation are willing to increase the amount of the

undertaking as the Court may order from time to time, together with interest.

       WHEREFORE, Plaintiffs in Limitation pray that:

       1.     This Court accept the Declaration of Mark Knutson Attesting to the Fair

              Market Value as the value of the M/V JOURDANS OBSESSION at the

              time of the incident.

       2.     This Court accept the Declaration of Mark Knutson Attesting to the Fair


                                            11
                                                                            1029428\305476267.v6
 Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 12 of 14




     Market Value as the value of the YAMAHA at the conclusion of the

     voyage;

3.   This Court enter an order directing the issuance of a notice to all

     persons or other legal entities claiming damages for any and all losses

     or damages occasioned or incurred by, or in any way resulting from,

     the incident, or in any way consequent thereupon, or otherwise arising

     out of the incident, or otherwise asserting any claim with respect to

     which Plaintiffs in Limitation seek exoneration from or limitation of

     liability herein, admonishing them to appear and file their respective

     claims with the Clerk of this Court and to serve on or mail copies

     thereof to the attorneys for Plaintiffs in Limitation, herein named, on

     or before the date to be specified in said notice, or be forever barred

     and permanently enjoined from making and filing any such claims;

     that claimants make proof of their respective claims, and further to file

     their respective answer, if any, to the allegations of the Complaint on

     or before the due date to be specified in said notice, all as provided by

     law and the Federal Rules of Civil Procedure, including Rule F,

     Supplemental Rules for Admiralty or Maritime Claims and Asset

     Forfeiture Actions;

4.   This Court enter an order directing that said notice be published in a


                                  12
                                                                1029428\305476267.v6
 Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 13 of 14




     newspaper, as specified in the notice, once a week for at least four (4)

     consecutive weeks until the return day specified in the notice, and that

     the first publication of the notice be served on the respective attorneys

     for all persons or other legal entities who have filed or begun suits for

     damage, loss or destruction or arising out of the incident or related to

     the aforesaid occurrences, if any, together with a copy of the order

     directing the issuance of the notice;

5.   This Court enter an order enjoining the prosecution of all suits, actions,

     proceedings and claims arising out of the aforementioned incident,

     other than this action;

6.   This Court adjudge that Plaintiffs in Limitation are not liable to any

     extent for any injury, loss or damage or for any claims whatsoever in

     any way arising out of or in consequence of the aforementioned

     incident;

7.   If Plaintiffs in Limitation shall be adjudged liable, for an order that such

     liability be limited to the value of the M/V JOURDANS OBSESSION

     and/or and the YAMAHA at the conclusion of the voyage(s), or less,

     and only if said vessel(s) contributed to the incident, that the monies

     paid, surrendered or secured to be paid as aforementioned, be divided

     pro rata among such claimants as may fully prove their claims, saving


                                  13
                                                                  1029428\305476267.v6
       Case 4:21-cv-01527-YGR Document 1 Filed 04/17/20 Page 14 of 14




             to all parties any priorities to which they may be legally entitled, and

             that a decree be entered discharging Plaintiffs in Limitation and the

             M/V JOURDANS OBSESSION and the YAMAHA from any and all

             further liability; and

      8.     For any such other and further relief as this Court may deem just and

             proper.



Dated: April 17, 2020

                                          /s/ Pamela L. Schultz
                                          Pamela L. Schultz

                                          Attorneys for Plaintiffs in Limitation
                                          SEABREEZE JETLEV, LLC,
                                          SEABREEZE JET SKI, LLC, and H2O
                                          SPORTS HAWAII, LLC

                          CERTIFICATE OF SERVICE

      I, Pamela L. Schultz, hereby certify that the documents filed through the ECF
system will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF).

Dated: April 17, 2020

                                          /s/ Pamela L. Schultz
                                          Pamela L. Schultz

                                          Attorneys for Plaintiffs in Limitation
                                          SEABREEZE JETLEV, LLC,
                                          SEABREEZE JET SKI, LLC, and H2O
                                          SPORTS HAWAII, LLC


                                         14
                                                                       1029428\305476267.v6
